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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                            October 21, 2020
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   KNIGHT FIRST AMENDMENT                                     :
   INSTITUTE AT COLUMBIA                                      :
   UNIVERSITY,                                                :
                                                              :
                                                 Plaintiff, :
                                                              :    1:17-cv-7572 (ALC)
                     -against-                                :
                                                              :    ORDER
   U.S. DEPARTMENT OF HOMELAND                                :
   SECURITY, ET AL.,                                          :
                                                              :
                                              Defendants. :
                                                              :
                                                              :
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ANDREW L. CARTER, JR., United States District Judge:

        The Court is in receipt of the parties’ joint status report. (ECF No. 161). The parties shall

file a joint status report by December 11, 2020.



SO ORDERED.

Dated: October 21, 2020                                      ___________________________________
       New York, New York                                         ANDREW L. CARTER, JR.
                                                                  United States District Judge
